Case 4:Ol-cV-40137-N|\/|G Document 17 Filed 11/21/02 Page 1 of 1 [j/

UNITED STATES DISTRICT COURT
FOR THE DISTR_ICI' OF MASSACHUSET"]Z§]] /VW 2
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TE RRY ROY
Plaintiff,

V.

CITY OF GARDNER,, CHARLES ].

MANCA, individually and in his
capacity as Mayor of the City of
Gardner, ]AMES DUFORT,
individually and in his capacity as
Chief of Police for the City of
Gardner and ROGER WRIGLEY,
Individually and in his oflicial
capacity as a Sergeant for the
Gardner Police Department,

Defendants,

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CIVIL ACTION NO. 01-40137NMG

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STIPULATION OF DISMISSAL

The parties to the above-captioned case hereby stipulate pursuant to Fed. R. CiV. P. 41 (a)
(1) and 41(c) that this action, including any and all claims set forth in any and all pleadings, including
all counter claims, cross claims and/ or third party complaints, be dismissed with prejudice, Without
costs or attorneys fees, and with ali rights of appeal being Waived.

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Defe.ndants, City of Gardner, Charles
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